        Case 1:20-mj-11861-UA Document 3 Filed 11/06/20 Page 1 of 1


                                                                                    March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                 X
UNITED STATES OF AMERICA,                                       CONSENT TO PROCEED BY
                                                                VIDEOCONFERENCE
                      -v-                                            itA At-c\



                             Defendant(s).
                                                 X

Defendant 7)- a                                           hereby voluntarily consents to
participate in the folfowing proceeding via videoconferencing:

       Initial Appearance/Appointment of Counsel

       Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
       Indictment Form)

 _     Preliminary Hearing on Felony Complaint
   /
                                  Hearing

       Status and/or Scheduling Conference

       Misdemeanor Plea/Trial/Sentence




Defendant's Signature                                Defense Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

                                                          ac            pC(i - Rap
Print Defndant's Name                                Print Defense Counsel's Name


This proceeding was conducted by reliable videoconferencing technology.



 11/6/2020
Date                                                 U.S. Magistrate Judge
